     Case 2:05-cr-00155-SJO Document 57 Filed 03/29/06 Page 1 of 20 Page ID #:198




 1 DEBRA WONG YANG                  •
   United States A t t o r n e y
 2 THOMAS P. O'BRIEN
   A s s i s t a n t United States Attorney                                         ,-e.:      '.1
                                                                                            C.I -
 3 Chief, Criminal D i v i s i o n                                                          2' -'T
   MARK A. YOUNG ( S t a t e Bar No. 179376)
 4 A s s i s t a n t United States Attorney                                                          =E
                                                                                                     ::o
   Narcotics Section                                                                                 ro
 5           1400 U n i t e d S t a t e s Courthouse
             312 N o r t h S p r i n g S t r e e t                                                   I *
                                                                                                           r
 6           Los Angeles, C a l i f o r n i a 90012
             Telephone:         (213) 894-6527
 7
   Attorneys f o r P l a i n t i f f
 8 UNITED STATES OF AMERICA
 9                            UNITED STATES DISTRICT COURT
10                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
11   UNITED STATES OF AMERICA,                          No. CR 05-155-GPS
12            ./   '      Plaintiff,
                                                        GOVERNMENT'S POSITION RE
13                       V.                             SENTENCING FOR DEFENDANT TONY
                                                        RIVERA
14   TONY RIVERA,
15                       Defendant.                     Date: A p r i l 3, 2006
                                                        Time: 2:30 p.m.
16
17         The government r e s p e c t f u l l y f i l e s i t s p o s i t i o n papers w i t h
18   r e s p e c t t o t h e seritencing o f defendant Tony R i v e r a .
19   Dated:    March 29, 2006
20                                               Respectfully        submitted,
                                                DEBRA WONG YANG
21                                        •    • United States A t t o r n e y
22                                              THOMAS P. O'BRIEN
                                                Assistanj/^ U n i t e d S t a t e s A t t o r n e y
23                                            \ C h i e f jv/Cr-iminaiVDiylsion
24
                                                M A ^ A . YOUNG
25                                              A g ^ s t a n t United States' Attorney
                                                  Attorneys f o r P l a i r f t i f f
26                                                 U n i t e d S t a t e s o f Am^rj-ca
27                                                      ;' fNTEfON ICMS
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     Case 2:05-cr-00155-SJO Document 57 Filed 03/29/06 Page 2 of 20 Page ID #:199




 1                            GOVERNMENT'S SENTENCING POSITION
 2   1.      Factual Findings
 3          The government adopts t h e f a c t u a l f i n d i n g s o f t h e Pre- \.
 4   Sentence Report          (PSR).      As s e t f o r t h i n t h e PSR, defendant was
 5   convicted at t r i a l       on August 29, 2005, o f p o s s e s s i o n w i t h          intent
 6   t o d i s t r i b u t e a t l e a s t 50 grams o f a c t u a l methamphetamine as
 7   charged i n count two o f t h e i n d i c t m e n t .            (PSR SI 2) .     As t o count
 8   one, t h e Court o r d e r e d a m i s t r i a l on t h i s same d a t e .            (Id.).

 9           I n a d d i t i o n , t h e government has f i l e d a t h r e e count •.
10   i n f o r m a t i o n i n t h i s m a t t e r pursuant t o 21 U.S.C. § 851, which
11   a l l e g e s defendant's t h r e e p r i o r f e l o n y drug c o n v i c t i o n s .    (PSR i

12   4) .          '••••[-   • ',                                        "-''y       • •

13   2.     Sentencing Recommendation                                                               '
14          As s e t f o r t h i n U n i t e d S t a t e s v. Booker, 125 S. Ct. 738
15   (2005), t h e G u i d e l i n e s , a l o n g w i t h o t h e r f a c t o r s s e t f o r t h i n 18
16   U.S.C. § 3 5 5 3 ( a ) , must be c o n s i d e r e d by t h e Court i n s e n t e n c i n g a
17   defendant.        W i t h r e s p e c t t o t h e G u i d e l i n e s , t h e PSR concluded
18   t h a t defendant's base o f f e n s e l e v e l was 34, based upon h i s
19   conviction at t r i a l        and t h e evidence r e g a r d i n g two s e i z u r e s o f
20   methamphetamine from defendant.                     (PSR SISI 19-24).        Defendant i s
21   n o t e n t i t l e d t o any adjustment f o r acceptance              of responsibility
22   s i n c e he proceeded       to t r i a l .    (PSR SI 3 0 ) .                                     V
23          I n a d d i t i o n , t h e PSR c o r r e c t l y concluded t h a t defendant was
24   a Career O f f e n d e r .     (PSR SI 3 2 ) .      As such, defendant's base                  ' :
25   o f f e n s e l e v e l was r a i s e d t o a l e v e l 37, and h i s c r i m i n a l    history
26   c a t e g o r y became an a u t o m a t i c V I .    (PSR SISt 33-34, 7 0 ) . P r i o r t o
27   t h e i m p o s i t i o n o f any mandatory sentence, defendant's                     guideline

28   range i s 360 months t o l i f e .
     Case 2:05-cr-00155-SJO Document 57 Filed 03/29/06 Page 3 of 20 Page ID #:200




 1           As noted i n t h e PSR, t h e government has f i l e d t h r e e
 2   enhancements a g a i n s t defendant pursuant t o 21 U.S.C. § 851, which
 3   mandates a l i f e sentence i n t h i s case.                        The u n d e r l y i n g c o n v i c t i o n
 4   documents a r e a t t a c h e d as E x h i b i t A.               These documents correspond
 5   t o h i s 1987 f e l o n y drug c o n v i c t i o n            (PSR SI 4 1 ) , h i s 1992 f e l o n y
 6   drug c o n v i c t i o n    (PSR SI 5 4 ) , and h i s 1997 f e l o n y drug c o n v i c t i o n
 7    (PSR SI 58) .         I n a d d i t i o n , t h e government i s p r e p a r e d t o c a l l
 8   F o r e n s i c P r i n t S p e c i a l i s t Edgar B e r r i o s t o t e s t i f y a t s e n t e n c i n g
 9   t h a t he compared t h e f i n g e r p r i n t cards from defendant's t h r e e
10   p r i o r c o n v i c t i o n s w i t h f i n g e r p r i n t s he p e r s o n a l l y t o o k f r o m
11   defendant a t t h e M e t r o p o l i t a n D e t e n t i o n Center and t h a t , i n h i s
12   o p i n i o n , t h e y were t a k e n from t h e same person.                    A copy o f h i s
13   r e p o r t i s a t t a c h e d as E x h i b i t B.        F i n a l l y , t h e government has
14   a t t a c h e d booking photographs               from defendant's t h r e e f e l o n y drug
15   c o n v i c t i o n s as f u r t h e r p r o o f t h a t these c o n v i c t i o n s a l l r e l a t e t o
16   defendant.          These photographs a r e a t t a c h e d as E x h i b i t C.
17           The government does n o t seek a l i f e sentence i n t h i s m a t t e r
18   lightly.         The government b e l i e v e s t h a t defendant poses an ongoing
19   danger t o t h e community t h a t w i l l n o t l e s s e n over t i m e .                         Anything
20   l e s s t h a n a l i f e sentence i n t h i s m a t t e r would guarantee t h a t , a t
21   some p o i n t , defendant would resume a l i f e o f crime t h a t has
22   spanned m u l t i p l e decades.              T h e r e f o r e , t h e government seeks t h e
23   imposition of a l i f e             sentence as mandated by 21 U.S.C. § 8 4 1 ( b ) .
24   3.      Defendant's          Factual Objections
25           I n h i s s e n t e n c i n g papers, defendant r a i s e s numerous f a c t u a l
26   o b j e c t i o n s i n t h e PSR.       While defendant c i t e s t o s e v e r a l cases i n
27   s u p p o r t o f h i s r e q u e s t t o s t r i k e these paragraphs,                 defendant's
28   r e l i a n c e i s misplaced.           U n l i k e i n t h e cases c i t e d t o by
     Case 2:05-cr-00155-SJO Document 57 Filed 03/29/06 Page 4 of 20 Page ID #:201




 1   defendant, t h e P r o b a t i o n O f f i c e r d i d n o t r e l y upon i n f o r m a t i o n i n

 2   the   o b j e c t e d paragraphs t o r a i s e defendant's f i n a l sentence and

 3   t h e r e f o r e t h e r e a r e no Due Process concerns.                As such, i t i s n o t

 4   necessary f o r t h e Court t o r e s o l v e these i s s u e s p r i o r t o

 5   sentencing.

 6          W i t h r e s p e c t t o defendant's o b j e c t i o n s t o paragraphs 8,
 7   9 ( a ) - ( c ) , 12, and 13, t h e f a c t s s e t f o r t h t h e r e i n a l l come from
 8   a f f i d a v i t s f i l e d i n t h i s m a t t e r , which have been p r e v i o u s l y
 9   produced t o defendant, and t h a t c o n t a i n background                       information
10   r e g a r d i n g t h e i n v e s t i g a t i o n and p r o s e c u t i o n o f defendant.      These
11   paragraphs, however, do n o t c o n t a i n any f a c t s t h a t were used by
12   the   P r o b a t i o n O f f i c e t o i n c r e a s e defendant's      sentence.
13          W i t h r e s p e c t t o paragraphs       43 and 56, t h e PSR s h o u l d n o t be
14   amended as these paragraphs c o n t a i n f a c t s d e r i v e d from
15   defendant's p r i o r a r r e s t s .       The i n f o r m a t i o n c o n t a i n e d t h e r e i n i s
16   r e l i a b l e i n t h a t i t came d i r e c t l y from r e p o r t s and/or p l e a d i n g s
17   from these cases.             Moreover, none o f t h e i n f o r m a t i o n c o n t a i n e d
18   t h e r e i n was used by t h e P r o b a t i o n O f f i c e t o i n c r e a s e defendant's
19   sentence.        T h e r e f o r e , t h e Court does n o t need t o r e s o l v e these
20   f a c t u a l d i s p u t e s o r s t r i k e t h e paragraphs     from t h e PSR.                      „ ...
21   4.     Conclusion                                                                       .           ,
22          The government respectfully requests that the Court find
23   that the government has met its burden and proved the three prior
24   felony convictions of defendant beyond a reasonable doubt
25   //           C\_ , : • ' ' .                                                              • % •
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     Case 2:05-cr-00155-SJO Document 57 Filed 03/29/06 Page 5 of 20 Page ID #:202




 1   as a l l e g e d i n t h e i n f o r m a t i o n , and sentence defendant t o a
 2   mandatory sentence o f l i f e imprisonment,
 3   Dated:    March 29, 2006
                                             Respectfully          submitted,
 4
                                             DEBRA WONG YANG
 5                                           United States Attorney
 6                           ;r''v:l:/     - THOMAS      P. O'BRIEN
                                             Assistanti^^nited States Attorney
 7                             ' ,           Chie£< ^ ^ ^ i m i n a y ^ D j ^ i s i o n


                                                  (K A . YOUNl
 9                                           J f s s i s t a n t U n i t e d StoKCes A t t o r n e y
                                                 Attorneys f o r P l a i n t i f f
10                 • .   .           .           U n i t e d S t a t e s o f 7\merica

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BILL      LOCKYER                                                            State of California
Attorttvy   General                                                  DEPARTMENT    OF JUSTICE
                                                                  BUREAU OF CRIMINAL INFORMATION AND ANALYSIS
                                                                                                  P.O.BOX 903387
                                                                                       SACRAMENTO, CA 94203-3870
                                                                    ,. ••                 Facsimile:(916)227-4815
                                                                      '                             (916)227-3460

                                                    March 20, 2006


       Detective David Jacoby
       Los Angeles Police Department
       Narcotics, Major Crimes Enforcement Section
       251 E. 6* Street, Rm 350
       Los Angeles, California 90014



       RE:     Exemplified Documents


               CIINO:          AXXXXXXXX
               NAME :          TONY RIVERA

         Dear Detective Jacoby:          '                  • •

               Enclosed are the exemplified documents for the above-named subject that you requested.

               If you have any questions, please call me at (916) 227-3460.

                      •   ,    •>'                  Sincerely,



                                                      iNNIS N.CROSS
                                                    Keeper of Records
                                                    Communications Administration Program
                                                    Bureau of Criminal Information and Analysis

                                             For    BILL LOCKYER         .
                                                    Attorney General                       , ,

       DNCdg
       Enclosure




                              EXHIBIT ^
Case 2:05-cr-00155-SJO Document 57 Filed 03/29/06 Page 7 of 20 Page ID #:204




                                    STATE OF CALIFORNIA

                                  DEPARTMENT OF JUSTICE




STATE OF CALIFORNIA
                                 :ss
COUNTY OF SACRAMENTO )

                                            DECLARATION OF LEGAL KEEPER OF RECORDS




       I, DENNIS N. CROSS, Legal Keeper of Records of the Bureau of Criminal Information

and Analysis, Department of Justice, do hereby certify that the attached documents are true and

correct copies of the documents of the Department of Justice, and that I am the custodian of said

documents, to wit:           •                .                     '             '

       Copies of documents fi-om originals located in CII record AXXXXXXXX of

TONY RIVERA.             ^              ^                                     -


      IN WITNESS WHEREOF, I have hereunto set my hand and affixed the Seal of the
Department of Justice of the State of California this 20"^ day of March, 2006 A. D.
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                                        LOS ANGELES POLICE DEPARTMENT


       William J. Bntua                                                                                                      P.O. BOX 30151
       Chief ofFolicc                                                                                                Los Aigdcs. Calif 90030
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                                                         A.NTOMO R. VILLARAIGOSA        Reft 10.1.1
                                                                MAYOR



                                      FINGERPRINT COMPARISON CERTIFICATION

       I,                        Edgar Berrios                    , a member of the Los Angeles Police Department,

       assigned to Records and Identification Division, Criminal Identification Section, and a qualified

       Fingerprint Identification Expert have determined the following.                                         '

       The fingerprint impression(s) on                   Inked 10-Print obtained at Metropolitan Detention Center

             Date Fingerprinted 03/08/2006         and bearing the name                               Rivera, Tony

                ***ARE***             the same as thefingerprintimpressions on the following document (s):



1)                Bkg# 9019474              Document:                         LAPD-DOJ Certified 10-Print
               Arrest Date 03/18/1987            Name:             Rivera, Antonio                    Source:         969-B Package


2)               Bkg#3114410              Document:                           LAPD-DOJ Certified 10-Print
               Arrest Date 06/16/1992            Name:               Rivera, Tony                     Source:         969-B Package


3)               Ref.# H-84315            Document:                     Kern State Prison-DOJ Certified 10-Print
            Fingerprint Date 07/20/1993          Name:             Rivera, Antonio                    Source:         969-B Package

4)               Bkg# 5259623             Document:                           LAPD-DOJ Certified lO-Print
               Arrest Date 05/29/1997            Name:               Rivera, Tony                     Source:         969-B Package
5)               Ref.# H-84315            Document:                     Kern State Prison-DOJ Certified 10-Print
            Fingerprint Date 11/14/1997          Name:            Rivera, Antonio i n                 Source:         969-B Package



     I am hereby prepared to testify in court to the results of my examination.


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                                                                        FINGERfiWN'rilD EXPERT'S SIGNATURE


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 1                                    CERTIFICATE OF SERVICE

 2          I , SUSANA ZAMBRANO, declare:

 3          That I am a citizen of the United States and resident or employed in Los Angeles,

 4 County, California; that my business address is Office of United States Attorney, Federal
 5 Courthouse 312 North Spring Street, Los Angeles, California 90012; that I am over the age of
 6 eighteen years, and am not a party to the above-entitled action;
 7          That I am employed by the United States Attorney for the Central District of California

 8 who is a member of the Bar of the United States District Court for the Central District of
 9 California, at whose direction the service by mail described in this Certificate was made; that on
10 March 29, 2006,1 deposited in the United States mail, at the U.S. Courthouse, in the above-
     entitled action, in an envelope bearing the requisite postage, a copy of G O V E R N M E N T ' S
11
     SENTENCING FOR DEFENDANT TONY RIVERA
12
     service was:
13 • Placed in a closed             pC] Placed in a sealed
   envelope, for collection         envelope for collection and
14 and interoffice delivery         mailing via United States Mail,
     addressed as follows:          addressed as follows:
15
     [] ]] By hand delivery        [[ J By facsimile as follows:
16 addressed as follows:
17     ] By messenger as follows: f ^ By federal express as follows:

18 Phillip Deitch
     P.O. Box 8025                              :       •
19 Van Nuys, CA 91406-8025
20 at his last known address, at which place there is a delivery service by United States mail.
21          This Certificate is executed on Mapcn 29, 200&^ albsLos Angeles, California. I certify

22 under penalty of perjury that the forgoing is t /^je
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25
                                                                      } Su^na Zambrano
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